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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



 ANALOG DEVICES, INC. and HITTITE
 MICROWAVE LLC,
                                                     Civil Action No.: 1:18-cv-11028-GAO
                Plaintiffs,

                        v.

 MACOM TECHNOLOGY SOLUTIONS
 HOLDINGS, INC. and MACOM
 TECHNOLOGY SOLUTIONS INC.,

                Defendants.




         ANALOG’S ASSENTED-TO MOTION TO FILE UNDER SEAL
 ITS MOTIONS FOR PRELIMINARY INJUNCTION AND EXPEDITED DISCOVERY


       Pursuant to Local Rules 7.2 and 16.6(d)(6), Plaintiffs Analog Devices, Inc. and Hittite

Microwave LLC (collectively, “Analog”) respectfully submit this Motion to File Under Seal

Analog’s Motion for Preliminary Injunction and the memorandum filed in support thereof,

Analog’s related Motion for Expedited Discovery, and the declarations and exhibits filed in

support thereof, copies of which are attached hereto. Analog will today publicly file versions of

such documents from which it will redact those portions containing highly sensitive and

confidential technical, business and trade secret information of Analog, and will file under seal

(upon leave of Court), and serve full unredacted copies of these pleadings on outside counsel for

Defendants.   Defendants have consented to the relief sought herein.

       The confidential information Analog seeks to redact includes confidential technical

information concerning Analog’s HMC998 and HMC998A products, as well as business and


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customer requirements related to such products, some of which are the very trade secrets Analog

is seeking to protect by its preliminary injunction motion. Public access to this confidential

information would harm Analog’s competitive position in the marketplace.

       The newly amended Local Rule 16.6(d)(6) provides for a default protective order

restricting access to confidential information in patent proceedings that either party in good faith

believes is confidential. Analog possesses a good-faith belief that the redacted portions of the

documents to be filed contain such confidential information.

       WHEREFORE, Analog respectfully requests permission to file under seal its Motion for

Preliminary Injunction and memorandum filed in support thereof, its related Motion for Expedited

Discovery, and the supporting declarations and exhibits thereto.



 Dated: June 29, 2018                          Respectfully submitted,

                                               ANALOG DEVICES, INC. and
                                               HITTITE MICROWAVE LLC

                                               By their attorneys,


                                               /s/ Steven M. Bauer
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                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that Analog’s counsel met and conferred

in good faith with counsel for Defendants MACOM Technology Solutions Holdings, Inc. and

MACOM Technology Solutions Inc. to resolve or narrow the issues presented in this motion, and

they have consented to the relief sought herein.


                                                       /s/ Steven M. Bauer
                                                       Steven M. Bauer




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on June 29, 2018.


                                                     /s/ Steven M. Bauer
                                                     Steven M. Bauer




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